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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )

              v.                            )       CR. NO. 21-CR-228 (CRC)

ERIC BARBER                                 )

____________________________________)

                        MOTION TO CONVERT PLEA HEARING
                              TO STATUS HEARING

       Eric Barber, through undersigned counsel, respectfully moves this Honorable Court to

convert the plea hearing scheduled for October 14, 2021 to a status conference. Undersigned

counsel needs additional time to discuss the plea offer with Mr. Barber and needs additional time

to review the latest discovery production. Government counsel takes no position and requested

that undersigned counsel inform the Court that the government has been advised.

                                                    Respectfully Submitted,

                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                            _________/s/________________
                                            Ubong E. Akpan
                                            Assistant Federal Public Defender
                                            625 Indiana Ave., N.W.
                                            Washington, D.C. 20004
                                            (202) 208-7500
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                               CERTIFICATE OF SERVICE
       I, Ubong E. Akpan, certify that on this 8th day of October 2021, I caused a copy of the

foregoing Motion to be filed through the Electronic Case Filing (“ECF”) system and served a

copy on counsel for the government through the ECF.




                                                       /s/_________________
                                            Ubong E. Akpan
                                            Assistant Federal Public Defender
